"         ArthurJ. BauernfeindCollegeof Business                                   307 BusinessBuilding North
                                                                                   Murray, KY 42071-3314
         Department of Economics and Finance                                       270.809.4188/8 9
                                                                                              fax
                                                                                   270.809.5478
                             S         E UNIVERSITY
                                                                                   www.n ur y




         October 18, 2018



        Mr. W. Gary Blackburn
        Attorney at Law and
        Mr. B:ryant Kroll
        Attorney at Law
        The Blackbum Firm , PLLC
        213 Fifth Avenue North7 Suite 300
        Nashville, TN 37219

        RE:         Comprehensive Security, Inc., Associated Protective Seroice, Inc., and
                    OnTrac Security, LLC, Plaintiffs, v. Metropolitan Government ofNashvilT.e
                    and Davidson County, Defendant
                    In the United States District Court for the Middle District of Tennessee at
                    Nashville

        Dear Mr. Blackburn and Mr. Kroll:

       At your request I have reviewed the "Verified Complaint for Declarato:ry and
       Injunctive Relief' for Comprehensive Security, Inc., et al. v. Metropolitan
        Government of Nashville and Davidson County, dated April 16, 2018; Data
       Identifying the Precincts and Number of Post Commission Officers in Davidson
       and Adjacent Counties and other sources cited tp.roughout this report to answer
       two basic economic questions with respect to the alleged actions of the Metro
       Nashville Police Department ("MNPD")in the provision of security services for
       special events held in the Metro Area. (1) Is it anti-competitive if a market
       participant limits the available labor pool needed by rivals to produce a product
       or provide a service? and (2) Is selling a product or providing a service at a loss
       in the short run to drive competitors out of the market to earn future higher
       prices and profits a form of predatory pricing? Following is a summary of my
       analysis of and conclusion to these questions .

       Based on information provided, private security companies including
       Comprehensive Security, Inc. ("CSI"),Associated Protective Service, Inc., ("APS")
       and OnTrac Security, LLC ("OnTrac") provided security services for special events
       held in the Metro Area such as the Oktoberfest, German Festival, The Italian
       Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 1 of 48 PageID #: 1387
    Eq":'Ieducationand employmentopportunitiesM/F/D, AAemployer
                                                                                  2

Lights Festival, Steeplechase and the Nashville Sounds Baseball games and
hired both Metro Nashville Police Department ("MNPD") and non-MNPD Post
Certified officers to provide these services. Recently the Metro Nashville Police
Department ("MNPD") began a practice and procedure of taking over the
provision of security services for the major events held in Davidson County.
Their alleged actions include, inter-alia: forbidding MNPD officers to work for
private security firms and decreasing the pool of available qualified officers;
requesting wage and fee information from private firms and providing the
services at a reduced price believed, in some cases, to be below cost or free of
charges; and informing event coordinators that they must use MNPD officers to
handle traffic control and security for special events held in the Metropolitan
area. ("Verified Complaint for Declaratory and Injunctive Relief" - Comprehensive
Security, Inc. et al. v. Metropolitan Government of Nashville and Davidson County.
April 16, 2018).

In addressing the questions: (Is it anti-competitive if a market participant limits
the available labor pool needed by rivals to produce a product or provide a
 service? and Is operating a firm at a loss in producing a good or providing a
service a form of predatory pricing?) we take a brief look at market structure
which refers to the competitive relationship existing among firms in an industry.
At one end of the spectrum is pure competition which includes a large number
of firms, none of which influence market price, a standardized or homogenous
product and easy entry and exit of the market. Purely competitive firms are price
takers and do not earn long run profits. Pure competition exists primarily in the
markets for some agricultural commodities. At the other end of the spectrum is
monopoly which consists of one firm in the industry with considerable control
over price, produces a unique product or provides a unique service with no close
substitutes and has barriers, legal and/ or economic, to entering the market.
Examples of pure monopolies are regulated utilities providing electrical or similar
services. Next to monopoly is oligopoly which consists of a small number of large
firms, each of which influence the market. Oligopolies may provide standardized
products or services. Oligopolies may practice non price competition through
product differentiation or advertising or may engage in collusive pricing with
rivals. Although not monopolies, oligopoly firms may have considerable market
power depending on the concentration of the industry.          Oligopolies exist in
industries with large firms such as autos, steel and oil but also may be found in
industries with a small number of smaller firms such as highway construction
firms and those owning rock quarries.

Prior to the alleged recent actions by MNPD to forbid MNPD officers to provide
off duty security services to private security firms and informing prospective
event coordinators that they must use MNPD officers to handle traffic control
and security for special events held in Davidson County they, more likely than
not, operated in a somewhat competitive market. The degree of market power

 Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 2 of 48 PageID #: 1388
                                                                                  3

that a given firm has depends on the number of firms in the industry but more
importantly on the size of the firm relative to other firms in the industry. To get
a better picture of market structure and concentration within a given market,
economists often use a measure called the Herfindahl-Hirschman        Index, or HHI.
The HHI for an industry is the sum of the squared market shares of each firm in
the industry. By squaring the market shares, much greater weight is given to
larger firms than smaller ones. For example, an industry with four firms, each
of which have 25 percent of the market would have an HHI of 2500= (252
+25 2+25 2+25 2). In a purely competitive firm where each firm has a small percent
of the market the HHI would approach zero and in a pure monopoly industry the
HHI would be 10,000= (100 2). The Herfindahl-Hirschman         Index is used by the
U.S. Justice Department and the Federal Trade Commission, which have the
task of enforcing antitrust policy. According to the U.S. Justice Department
guidelines, an HHI below, 1,500 indicates a strongly competitive market,
between 1,500 and 2,500 indicates a somewhat competitive market and over
2,500 indicates an oligopoly. In an industry with an HHI over 1,500, a merger
that results in a significant increase in the HHI would receive special scrutiny
and is likely to be disallowed. According to the U.S. Department of Justice
Merger Guidelines of 1982, "non-concentrated markets are defined as those with
an HHI of less than 1,000 (McConnell, Campbell R. and Stanley L. Brue,
Economics, Twelfth Edition, McGraw-Hill, Inc., 1993; Krugman, Paul and Robin
Wells, Economics. Fourth Edition, Worth Publishers, 2015; Keat, Paul G. and
Philip Y. Young, Managerial Economics, Fourth Edition, Prentice Hall, 2003).

The other side of the market which may give firms monopoly power is the "buy
side" or purchase of factors of production needed to produce the product or
provide the service. Firms may limit competition by owning or controlling
strategic resources necessary to produce a product or provide a service. For
example, the DeBeers diamond syndicate effectively controlled about 80 to 90
percent of the world's diamond supply which gave them considerable market
power in pricing diamonds. Also in 1878 Standard Oil controlled almost all U.S.
Oil refining until it was broken up in 1911. According to information obtained
from the POST Commission there are 3,615 Post Commissioned Officers in
Davidson and the six adjacent counties which are considered the reasonable pool
of officers available for part time employment by private firms providing security
services in Davidson County. The distribution by county is: Davidson, 1,488,
(78 of which are other than MNPD); Robertson, 172; Sumner, 455; Wilson, 318;
Rutherford, 619; Williamson, 456; and Cheatham, 107 . The distribution in
terms of market share of the pool of Post Commissioned Officers expressed as a
percentage of the total is: MNPD, 39; Davidson (other), 2; Robertson, 5; Sumner,
12; Wilson, 9; Rutherford, 17; Williamson, 13; and Cheatham, 3. Applying the
Herfindahl & Hirschman Index as a measure of market concentration HHI = (39 2
+ 22+ 52+122+92+172+132+92) = 2,242. As indicated earlier an HHI of 1,500 to

 Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 3 of 48 PageID #: 1389
                                                                                   4

2,500 indicates a somewhat competitive market and over 2,500 indicates an
oligopoly. Also with 39 percent of the available pool of Post Certified Officers
MNPD has considerable market power. Should the available Post Certified
Officer pool be reduced to those supplied by MNPD then the HHI would equal
 10,000 (100 2) and the MNPD would have a monopsony (monopoly on the "buy
side") position in the market for Post Certified Officers. It should also be noted
that the HHI measures the market power that a firm may have in an industry
based on market concentration but does not identify other impacts a firm's
action may have on its rivals. For example, if the MNPD was effective in reducing
the pool of available officers to private security firms it would make the rivals
less competitive because the officers they could employ would have to travel
further which would be more costly and time consuming and would make events
providing employment for short time periods less attractive.        Also, if private
security firms servicing large events had to recruit officers from multiple
locations it would require more time and would increase their operating cost thus
further reducing competition in the market.

Data showing the market share of the MNPD and private security firms that
provided security services for special events held in the Metro Nashville Area was
not available at the time this report was written. Therefore, it was not possible
to measure market concentration on the "sell side" of the market based on the
Herfindahl-Hirschman Index. However, in the absence of market data needed to
calculate the HHI it is clear that if the MNPD is successful in excluding all other
security firms from the Metro Nashville market the HHI would equal 10,000 =
(100 2) and the MNPD would, defacto, have a monopoly position in the market.

In summary, if a firm reduces or limits the resources available and needed
by rival firms in an industry, to produce a product or provide a service, it
effectively makes the industry more concentrated, increases the market
power of the dominant firm and reduces competition in the industry. If
the Metro Nashville Police Department forbids MNPD officers from working
part time for private security firms it effectively reduces the pool of
available workers to those firms by about thirty-nine              percent and
constitutes a partial barrier to entry for the private security firms resulting,
ceteris paribus, in lesser competition in the market. From an economic
point of view, the practice of pricing a good or service below the cost of
production in the short run, to drive competitors out of business and to
discourage new entrants into a market so that the firm can enjoy higher
future prices and profits is considered predatory pricing. Offering a product
or providing a service at zero cost would, more likely than not, be below
the cost of production. Finally, if the MNPD becomes the exclusive provider
of security services in Davidson County it would have a monopoly position
in the market.


  Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 4 of 48 PageID #: 1390
                                                                               5

According to my belief and knowledge, all statements and information in this
report are true and accurate, subject to the underlying assumptions, and the
conclusions are based on reasonable probability. I also certify that I have no
interest, present or contemplated, in the above matter and that neither the
employment nor compensation is contingent on the opinions expressed.

Thank you again for the opportunity to work with you on the case. Please contact
me if there are any questions or if there are any additional aspects that should
be explored.

Respectfully submitted,



Gilbert L. Mathis, Ph.D.
Professor Emeritus of Economics

GLM/dn




 Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 5 of 48 PageID #: 1391
                       SUMMARYOF BACKGROUNDAND EXPERIENCE OF
                                         GILBERT L. MATHIS

EDUCATION:
    University       of Kentucky,    B.S.,  1960
    University       of Kentucky,    M.S.,  1963
    Ohio State       University,    Ph.D.,  1966
    University       of Florida,    Summer 1970
    University       of Texas,    Summer 1974
EMPLOYMENT:
    Professor      Emeritus     of Economics,      Murray State        University,    2004-
    Professor      of Economics,       Murray State       University,       1972-2004
    Chair,    Department       of EconomicE: and Finance,            Murray    State
       University,       1987-1997
    Associate      Professor     of Economics,       Murray State        University,
       1969-72
    Assistant      Professor     of Economics,       Murray State        University,
       1966-69
    Coordinator       of Agriculture       Programs,      University      of Kentucky
       Community College,          1965-66
    Research     Assistant,      Ohio State      University,       1964-65
    Agriculture       Teacher,    Anderson     High School,        1960-64

RELATED PROFESSIONAL EXPERIENCE:

    Consul ting       to    Business  Firms.   _Law Firms.             Educational
    Institutions           and Government    Agencies

   Regional       Law Firms:        Kentucky,         Tennessee,        Illinois,         Florida,
     Missouri,        Mississippi,         Louisiana,         Connecticut,           Pennsylvania,
     Ohio, Colorado,           Texas,      Virginia,        Maryland,        Indiana,         California,
     Minnesota,        Alabama,        South Carolina          and Washington,               D.C.
   Northeast        Missouri       State     University,         Kirksville,           Missouri.
    City of Fulton,           Fulton,      Kentucky.
    The Tennessee·~ombigbee                Waterway        Authority,        Columbus,         Mississippi.
    The Kentucky         D~irelopment        Cabinet,       Frankfort,         Kentucky.
    Spike Elevator          Incorporated,          Fort Dodge,          Iowa.
   Murray State          UniveJ;tsity,       Murray,       Kentucky.
    Tennessee       Valley     Authority,        KrJoxville,        Tennessee.
   U.S. Department            of Agriculture,            Washington,         D.C.
    Communication          Workers ·.of America,            Paducah,        Kentucky.
    Southern      Illinois       Sand Incorporated,              Golconda,         Illinois.
   Florida     Farm Bureau,           Gainesville,          Florida.
    City of Hopkinsville,                Hopkinsville,         Kentucky.
   U.S. Department            of Energy,       Washington,          D.C.
    Science    Applications            Incorporated,         Oak Ridge,           Tennessee
       and La Jolla,          California.
   Legislative         Correspondent,           U.S. Senate          for Walter         D.
       Huddleston,         Washington,        D.C.,      Summer 1982.
   Adjunct     Professor,          Psychology         Internship        Training        Consortium,
       Vanderbilt        University,         Nashville,        Tennessee,          1990-93.
   Visiting       Professor,        United      Inf.titute       of International              Education,
       Kowloon,       Hong Kong, Spring            1997.
   Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 6 of 48 PageID #: 1392
                                                  -2-
    Consulting   to Business      Firms,     Law Firms,   Educational   Institutions       and
    Government   Agencies       (Continued-)


   U.S. Department
                of Justice, U.S. Attorney,MiddleDistrict of
      Tennessee,      Nashville,          Tennessee,       2001-
   Kansas City, Missouri   School District,   Kansas City,                             Missouri,
     Spring 2002.
   West Texas A&MUniversity,     Canyon, Texas, 2004.

PUBLICATIONS:

   Research      Project       Reports

   The Status       of Economic Education             in Kentucky High Schools
       (Coauthor,      Howard C. Giles,         Murray State University),                (17 pp.).
   Benefits      and Costs of Out-of-State               Students      Attending      MSU
       (49 pp.),      October     1971.
   Economic and Academic Impact of the Dormitory                          Scholarship
      Program on Murray State University                     (46 pp.),      March 1974.
   An Economic Study of Western Kentucky Including                           an Estimate
      of the Economic Impact of the Tennessee-Tombigbee                            Waterway
      and the Development            of an Investment           Strategy     for the
      Purchase      and Pennyrile        Areas (189 pp.),           October     1978.
   The Economic Impact of Murray State University                           on Murray and
      Calloway County (70 pp.),              October      1979.
   Views Held By Agriculturalists                 and Environmentalists             on
      Key Issues       Related     to Mayfield,         Obion, and Bayou du Chien
      Creeks in Western Kentucky               (106 pp.),        October     1982.
   Potential       Impact of the Inland Waterway Fuel Tax on the U.S.
      Grain Industry          (Coauthor,      Philip     R. Smith, Michigan           State
      University),        (83 pp.),      April 1983.
   General Market Analysis              for the City of Hopkinsville,
      Kentucky       (Coauthors,      Roger C. Schoenfeldt             and Phillip       B.
     Niffenegger),          (139 pp.),      1984.
   An Evaluation        of Nonresident         Fee Waiver Scholarships              at Murray
      State University           (93 pp.),     1984.
   The Economic Impact of Murray State University                           on West Kentucky
       (114 pp.),      1986.
   The Value of the Dollar              and U.S. Grain Exports              (Coauthor,
      R. Andrew Batts,          Murray State University),                (26 pp.),     1988.
   Enhancing      Regional      Value Added From Mississippi                 Delta Primary
      Products       (Coauthors,      James P. McCoy, Martin              I. Milkman and
      James F. Thompson),            (30 pp.),      1990.
   The Economic Impact of LWD, Inc,                    (108 pp.),      1993.
   Estimating       Break Even Household            Incomes and Budgets for Job
      Related     Local Government Expenditures,                   (27 pp.),     1999.
   An Inquiry       Into the Scope, Operation,                Economics and Social
      Desirability        of Charity       Bingo,      (48 pp.),      2000.
   An Assessment        of the Retirement           Eligibility        of Selected       Employees
      of the Kansas City Missouri               School District,            (40 pp.),     2002.
   The Economic Impact of Murray State University                           on Kentucky,     West
      Kentucky and Calloway County,                  (149 pp.),       2003.


  Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 7 of 48 PageID #: 1393
                                             -3-

Journal    Articles

 "Farm Management Programs for Young Farmers,"                         Agricultural
   Education      Magazine,      1967.
 "What About a Negative            Income Tax?"           Business     Dynamics,      1969.
 "Do Out-of-State         Students      Pay Their Way?" College              Management,
    1973.
 "The Integration         of the Legal--Economic             Process     in 20th Century
   America,"      Western Business           and Economics Journal,             1979.
 "The Economic Impact of Murray State University                           on Murray and
   Calloway County,"           The Kentucky Journal             of Economics and
   Business,      1980-81.
 "Barge Transportation           and the Demand for Railroad                 Services,"
   Southwestern        Economics Association              Journal    of Abstracts,1981.
 "Grain Elevator        Bankruptcy        Statutes:        Problems      and Legislative
   Proposals"       (Coauthor,      Thomas W. Little,            Washington,       D.C.),
   Southwestern        Economics Association              Journal    of Abstracts,         1982.
 "Views Held by Agriculturalists                  and Environmentalists            on Key
   Issues     Related     to Mayfield,         Obion, and Bayou du Chien Creeks
   in Western Kentucky,"            The Kentucky Journal             of Economics and
   Business,      1984.
 "Waterway User Taxes, Grain Exports                    and Intraindustry          Equity"
    (Coauthor,      Philip     R. Smith, Michigan            State University),
   Southwestern        Journal     of Economic Abstracts,              1984.
 "A Synthesis       of Alfred Marshall's             Contribution        to Economic
   Thought,"      Essays in Economic and Business                   History,     1984.
 "Potential      Impact of the Inland Waterway Fuel Tax on the U.S.
   Grain Industry."          (Coauthor,      Philip     R. Smith, Michigan           State
   University),       National      Waterways Foundation,              1984.
 "Airline     Deregulation:         Who Pays and Who Benefits,"                 Essays in
   Economic and Business            History,        1985.
 "The Tennessee        Tombigbee Waterway:             An Alternative         Route for
   Coal Shippers,"          Proceedings        of the Illinois         Mining
   Institute,       Springfield,        Illinois,       93 Year 1985.
 "An Evaluation        of Nonresident          Fee Waiver Scholarships             at
   Murray State University,"                The Kentucky Journal            of Economics
   and Business,         1985-86.
 "Adjusted     and Discounted         Earnings       Projections       for Selected
   Income Levels"          (18 tables),        The National       Directory      of
   Vocational      Experts,      1986-87,       Nashville,       Tennessee.
 "The U.S. Economy and the Kondratieff                     Syndrome"       (Coauthor,
   Philip     R. Smith, Michigan            State University),          The Kentucky
   Journal     of Economics and Business,                 1987.
 "Primary     Products      and Value Added In the Mississippi                   Delta
   Region"      (Coauthors,      James P. McCoy, Martin I. Milkman and
   James F. Thompson),           Social      Science      Perspectives       Journal,      1991.
 "Alternative      Methods of Appraising              the Destruction         of Earning
   Power," Journal          of Legal Economics, .1991.
 "Firm Location       Decisions       and Downstream Processors               of Delta
   Agricultural        Products"      (Coauthors,         Jam.es P. McCoy, Martin
   I. Milkman and Jam.es F. Thompson), Murray State University,
   Delta Business         Review, 1992.
 "The Calculation         and Application           of Age-Earnings         Adjustments,"
    (Coauthor,     Michael L. Brookshire,              West Virginia         University),
   The Journal       of Legal Economics,             1994.
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 8 of 48 PageID #: 1394
                                                  -4-

     Journal   Articles      (Continued-)


    "Transforming
              GlobalEconomic
                          Relations:Changing
                                          RolesandRules".
       (Coauthor,        Philip      R. Smith, Michigan           State    University),        Essays
      In Economic         and Business         History.      1996.
    "A Note on Estimating               Lost Earnings        from Partial         Permanent     Injury:
      Three Approaches             for the Trier         of Fact"       (Coauthor,      C. Michael
      Lawson,       Attorney       at Law, Nashville,           Tennessee),        Journal     of Legal
      Economics,         Vol.     8, Number 3, Winter           1998-99.
    "An Inquiry        into     the Scope,       Operation,       Economics       and Social
      Responsibility            of Charity       Bingo,"     Journal      of Business       and Public
      Affairs,       2001.
    "Tobacco      In Transition:           An Overview       of Sixty-Six         Years    of
      Partnership         Between       Producers,       Processors       and Politicians"
       (Coauthor,        William      M. Snell,      University        of Kentucky),        Essays    in
      Economic       and Business          History,      2007.
     "Assessing        Economic       Damages in Personal            Injury     and Wrongful       Death
        Litigation:           The State       of Colorado"        (Coauthor,        Jane Lillydahl,
        University        of Colorado),          Journal     of Forensic        Economics,      Volume
        XXIV, September             2013.

PROFESSIONAL PRESENTATIONS:

    "The Economic        Impact     of the Tennessee-Tombigbee                    Waterway        on
      Western     Kentucky,"        Kentucky       Economic      Association,            Louisville,
      Kentucky,       1979.
    "The Economic        Impact     of Murray       State    University            on Murray       and
      Calloway      County,"       Kentucky      Economic       Association,           Lexington,
      Kentucky,       1980.
    "Barge    Transportation          and the Demand for Railroad                    Services,"
      Southwestern         Economics      Association,          Dallas,       Texas,       1981.
    "An Analysis       of Price       and Wage Controls            in the United            States
      Since     1900,"     Economic      and Business         Historical           Society,
      Portland,       Oregon,      1981.
    "An Analysis       of Cost Recovery            User Fees on Commercial                  Carriers
      Using Inland         Waterways"        (Coauthor,       Philip       R. Smith,        Michigan
      State     University),        Southwestern         Economic        Association,           San
      Antonio,      Texas,     1982.
    "A Synthesis       of Alfred       Marshall's        Contribution            to Economic
      Thought,"       Economics       and Business        Historical          Society,        St.
      Paul,     Minnesota,       1982.
    "Grain    Elevator       Bankruptcy       Statutes:         Problems         and Legislative
      Proposals"        (Coauthor,       Thomas W. Little,            U.S.       Senate),
      Southwestern         Economic      Association,         Houston,        Texas,       1983.
    "Waterway     User Taxes and the U.S. Grain                    Export        Industry"
       (Coauthor,      Philip      R. Smith,       Michigan      State      University),
      Midwest     Economics        Association,         Chicago,       Illinois,          1984.
    "Waterway     User Taxes,         Grain     Exports     and Intraindustry               Equity"
       (Coauthor,      Philip      R. Smith,       Michigan      State      University),
       Southwestern        Economics      Association,          Fort Worth,           Texas,      1984.
    "Airline     Deregulation:           Who PE..ys and Who Benefits,"                   Economics
       and Business        Historical        Society,      Salt    lake     City,      Utah,      1984.
    "Converting       Agency Funds to General               Revenue        Funds,"       Joint
       Committee      on Agriculture          and Natural        Resources,           Frankfort,
   Case  3:18-cv-00375
       Kentucky,      1984.Document 128-1 Filed 11/02/20 Page 9 of 48 PageID #: 1395
                                                      -5-

PROFESSIONAL PRESENTATIONS:            (Continued-)

     "An Evaluation         of Commodity Options                  as a Strategy            for
       Participants         in the Grain Market"                   (Coauthor,         Philip      R.
       Smith,     Michigan       State     University),             Southwestern           Economics
       Association         Annual Convention,                Houston,        Texas,       1985.
    "The Tennessee          Tombigbee         Waterway:          An Alternative              for Coal
       Shippers,"        Ninety-Third           Annual Meeting,              Illinois        Mining
       Institute,        Springfield,           Illinois,         1985.
    "Economics        and Tort Law," West Kentucky                       Bar Association,
       Murray , Kentucky,            1985.
    "Trade Restrictions              and U.S. Agricultural                   Exports"
        (Coauthor,       Philip     R. Smith,          Michigan         State     University),
       Southwestern         Economics         Association,            San Antonio,           Texas,      1986.
    "The ' Ghost ' of Smoot-Hawley                  : Past,         Present       and Future"
        (Coauthor,       Philip     R. Smith,          Michigan         State     University),
       Economic       and Business          Historical          Society,         Atlanta,       Georgia,       1986.
    "The U.S. Economy and the Kondratieff                            Syndrome"          (Coauthor,
       Philip     R. Smith,       Michigan          State      University)         , Southwestern
       Economic Association,               Dallas,         Texas,      March 1987.
    "World Trade and the GATT: Forty-Year                              Profile      " (Coauthor        ,
       Philip     R. Smith,       Michigan          State      University),           Economic       and
       Business       Historical        Society,         San Francisco,             California,          1987.
    "The Value of the Dollar                  and U.S. Grain Exports"                     (Coauthor,
       R . Andrew Batts,          Murray State             University)         , Midwest        Economic
       Association,         Chicago,        Illinois,          1988.
    "From Dump and Burn to PIK and Roll:                             An Analysis           of Farm Policy
       1933-1987"         (Coauthor,        Philip       R. Smith,         Michigan        State
        (University),         Economic        and Business           Historical           Society ,
       Toronto , Ontario , 1988 .
    "The Economist          as Expert         Witness        In Appraising            Earning      Capacity,      "
       Kentucky       Economic      Association,             Lexington,          Kentucky , 1988.
    "Alternative         Methods      of Appraising             the Destruction              of Earning
       Power ," American          Academy of Economic                   and Financial           Experts ,
       Las Vegas , Nevada , 1989 .
    "Personal       Consumption         Considerations              In Determining             Losses
       Resulting       From Wrongful            Death"        (Coauthor,         Philip      R. Smith,
       Michigan       State     University),           Western       Economic         Association
       International         , Seattle      , Washington          , 1991 .
    " Challenges       and Opportunities               for a North American                  Free Trade
       Agreement"         (Coauthor,        Philip       R. Smith,         Michigan        State
       University),         Economic        and Business            Historical          Society,
       Seattle     , Washington        , April        1992.
    "Determining         Optimal      Wage Adjustments                In Calculating            Lost
       Earnings " (Coauthor,             Philip        R. Smith, Michigan                 State
       University),         Western      Economic Association                    International         ,
       San Francisco,           California,          July 1992.
    "Estimating        Lost Earnings            From Permanent             Partial        Injury:        Three
       Approaches        For the Trier            of Fact"         (Coauthor       , C. Michael          Lawson
       --Eason , Lawson,           Fishburn         & Dalton       , Nashville        , Tennessee)         ,
       Western      Economic      Association             International,            San Francisco          ,
       California,         July 1992.
    "The Calculation            and Application              of Age-Earnings              Adjustments"
        (Coauthor , Michael           L. Brookshire            , University           of West Virginia),
       Southern       Economics       Association,             Washington        , D.C.,       November 1992.
   Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 10 of 48 PageID #: 1396
                                                    -6-

PROFESSIONAL    PRESENTATIONS:       (Continued-)


     "TransformingGlobal EconomicRelations: ChangingRoles and Rules"
        (Coauthor,        Philip     R. Smith, Michigan            State     University),         Economic
       and Business          Historical        Society,      Boulder,       Colorado,       April    1995.
     "Personal        Consumption        Deductions       In Estimating          Economic      Losses"
        (Coauthors,        Frank H. Julian,            Murray     State    University         and Philip
       R. Smith,        Michigan       State    University),         Western      Economic
       Association         International,           San Diego,       California,         July    1995.
     "The Appropriate            Investments        For Efficient        Mitigation         of Economic
       Loss"      (Coauthor,        William     F. Landsea,        University        of Miami, Miami,
       Florida).         American       Academy of Economic             and Financial          Experts,
       Las Vegas,         Nevada,      March,     1999.
     "A Simplified         Approach       to Determining          Appropriate        Deductions        for
       Basic     Maintenance         Expenditures         in Wrongful        Death Actions,"
       American        Academy of Economic             and Financial         Experts,       Las Vegas,
       Nevada,        March 2001.
     "The Economic         Impact      of Murray       State    University         on Kentucky,        West
       Kentucky        and Calloway         County,"      Kentucky      Economic        Association,
       Lexington,         Kentucky,       2004.
     "Tobacco       in Transition:          An Overview       of Sixty-Six          Years of Partner-
        ship Between         Producers,        Processors       and Politicians"             (Coauthor,
       William        M. Snell,      University        of Kentucky,        Lexington,         Kentucky,
       Economic        and Business         Historical       Society,       Pittsburgh,        PA, 2006.
     "Social      Security       - Solvent      or Bankrupt?         In Need of Reconstruction
        or Retirement?"             Economic      and Business         Historical        Society,
        Providence,        Rhode Island,          April     2007.
     "Assessing        Economic      Damages in Personal             Injury      and Wrongful        Death
        Litigation:        The State        of Colorado        (Coauthor,        Jane Lillydahl,
       University         of Colorado),          Southern     Economic       Association,         New
        Orleans,       Louisiana,        November,      2012.

PROFESSIONAL AFFILIATIONS:
       American   Academy of Economic            and Financial          Experts
       National   Association       of Forensic         Economists
       Collegium   of Pecuniary        Economic       Damages
       Economics   and Business        Historical        Society-Past          President
       Kentucky   Economic     Associatior:     ..-Past    President
       Southern   Economic     Association
       Midwest   Economics     Association
       American   Board of Master         Educators-Professional                Advisory        Council
       American   Board of Disability            Analysts
       Jackson   Purchase     Historical       Society-Past          President

HONORS AND AWARDS:
       Alpha Zeta        (Honorary     Fraternity),       1959.
       Gamma Sigma Delta           (Honor Society),        1960.
       Omicron Delta         Epsilon
       Honors Day, University             of Kentucky,       1960 (upper       3% of class).
       Outstanding        Educator     In America      Award,     1972.
       Master    Conservationist          Award (Christian         County),     1977.
       Invited     participant;       White House Briefing            on Ratification       of
          Panama Canal Treaties,             1977.
       Invited     Participant,        White House on Domestic            Econom~c Policy,1978.
       Outstanding        Paper Recognition         ·Award, College       of Business     and
          Public    Affairs;       Murray     State   University,       1979,1984,1985,       1992.
       Speakers     Bureau-Kentucky          Humanities      Council,      1993-95.
       Economic      and Business        Historical     Society-Editor's          Award,  2007.
    Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 11 of 48 PageID #: 1397
bkgrndsum._Jan2014
                               EXHIBIT:
                   NUMBERS OF P.O.S.T. COMMISSION
                 CERTIFIED POLICE OFFICERS BY COUNTY
                          AND MUNICIPALITY




Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 12 of 48 PageID #: 1398
                                                  # of POST
      COUNTY                ENTITIES            COMMISSIONED
                                                  OFFICERS
 DAVIDSON COUNTY             MNPD                   1410



DAVIDSON COUNTY        Belle Meade PD                15
  (Other than MNPD)   Goodlettesville PD             44
                        Ridgetop PD                  6
                        Berry Hill PD                13
                                    TOTAL            78



ROBERTSON COUNTY      Coopertown PD                  6
                      Cross Plains PD                5
                      Greenbriar PD                  14
                      Ridgetop PD                    6
                      Robertson County
                                                     75
                      Sheriff's Department
                      Springfield PD                39
                      White House PD.               27
                                       TOTAL        172

                      Sumner County
                                                    182
SUMNER COUNTY         Sheriff's Office
                      Gallatin PD.                  85
                      Westmoreland PD               11
                      Hendersonville PD             121
                      Millersville PD               16
                      Portland PD                   31
                      Volunteer State
                                                     9
                      Community College
                                       TOTAL        455

                      Wilson County Sheriff's
                                                    155
WILSON COUNTY         Office
                      Lebanon PD                    100
                      Mount Juliet PD               58
                      Watertown PD                   5
                                       TOTAL        318

                      Rutherford County
                                                    230
RUTHERFORD COUNTY     Sheriff's Office


   Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 13 of 48 PageID #: 1399
                     Murfreesboro PD         247
                     La Vergne PD            60
                     Smyrna PD               82
                                   TOTAL     619

                     Williamson County
                                             226
WILLIAMSON COUNTY    Sheriff's Office
                     Brentwood PD            64
                     Fairview PD             21
                     Franklin PD             130
                     Nolensville PD          15
                                   TOTAL     456

                    Cheatham County
                                             79
CHEATHAM COUNTY     Sheriff's Office
                    Pleasant View PD          6
                    Ashland City PD          16
                    Kingston Springs PD       6
                                     TOTAL   107


    TOTAL COMMISSIONED OFFICERS
                                             2205
          OTHER THAN MNPD




   Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 14 of 48 PageID #: 1400
                                    SCHEDULE OF FEES



                             ECONOMIC CONSUL TING


                                    GILBERT L. MATHIS




   Economic research, analysis, reporting and deposition/trial   preparation   $200/hr.

   Testimony at depositions and trials - 2 hour minimum                        $200/hr.

   Travel Time                                                                  $30/hr.

   Expenses (no charge except for overnight and/or commercial travel)

   Statements will be sent upon submission of reports or data and after
     depositions and/or trials




  1-1-2016




Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 15 of 48 PageID #: 1401
   CASES IN WHICH TESTIMONY WAS GIVEN THROUGH DEPOSITION
                                       Gilbert L. Mathis

                                             2009

Don Drake and Sandra Drake, Individually, and as Next Friends of Lee Eric Drake,
Deceased, Plaintiffs, v. Jana M. Williams, M.D. and Centennial Medical Center/Parthenon
Pavilion, Defendants
Wrongful Death -- Plaintiff
Kelly, Kelly & Allman, Hendersonville TN
First Circuit for Davidson County TN
February 2009

Harris N. Jacobs, et al., v. Steven A. Michell, M.D., et al.
Wrongful Death--Plaintiff
Ashworth & Associates, Nashville TN
Third Circuit Court of Davidson County TN
February 2009

Richard P. Alexander, Jr., Personal Representative of the Estate of June C. Alexander,
Deceased, and as Parent and Guardian of RCA, a minor, and Regina Phillips, Individually,
Plaintiffs, vs. Hamlinco, Inc., a Tennessee Corporation, d/b/a Rockin Raceway; Charles S.
Martin, Individually; Antonio Zamperla, s.p.a.; and Zemperla Inc.; Defendants.
Wrongful Death, Plaintiff
Nimmo, Hoehn & Nimmo, Nashville TN
Circuit Court for Sevier County TN
March 2009

Bridgie McClain, Individually, and as Representative for the Estate of Christopher Wayne
McClain, et al., vs. Dinesh Shah, M.D.
Wrongful Death, Plaintiff
Tod D. Megibow, Paducah KY
Graves Circuit Court
March 2009

Jacqueline S. Goldsby vs. Pain Clinic Associates, P.C. and Kit S. Mayes, M.D.
Personal Injury - Plaintiff
Apperson, Crump & Maxwell, PLC, Memphis TN
Shelby County Circuit Court
April 2009

Kennard R. Morris, et al., v. Woodrow R. Wilson, M.D., et al.
Wrongful Death - Plaintiff
Kelly, Kelly & Allman, Hendersonville TN
Williamson County Circuit Court
April 2009

Case 3:18-cv-00375 Document 128-1 Filed
                                   D-1
                                        11/02/20 Page 16 of 48 PageID #: 1402
Jamie Watson Ledbetter, Individually and a.sthe Surviving Spouse of Decedent, Barry
Kevin Ledbetter, vs. Daniel W. Carmody, M.D.
Wrongful Death - Plaintiff
Bednarz & Bednarz, Nash ville TN
Circuit Court Robertson County TN
June 2009

Estate of Wanda Bell, by and through its Administrator, Walter Bell and Walter Bell,
Individually and The Northern Group vs. Tayyab Malik, M.D. and Bowling
Green-Warren County Community Hospital Corporation D/B/A, the Medical Center at
Bowling Green
Wrongful Death - Plaintiff
Flora Templeton Stuart, Bowling Green KY
Warren Circuit Court
August 2009

Jennifer Darlene Bunch and husband, Robert Bunch, ~•- Jeffery Landman, M.D. and
Virtual Radiology, P.C.
Personal Injury - Plaintiff
Barry E. Weathers, Nashville TN
Davidson Circuit Court
September 2009

Oscar Turner, Jr. and Carol Turner d/b/a, Taylor Seed Company, Plaintiffs, vs. Branch
Bank & Trust, Defendant
Loan Dispute - Plaintiff
Null, Samson & Paitsel, Mayfield KY
Commonwealth of Kentucky, Calloway Circuit Court
September 2009

Austin T. Wells, a Disabled Person, by and through his Conservator and Natural Mother,
Carron C. Wells Baker, v. Donald Estes, Estes LLC and the State of Tennessee
Personal Injury - Plaintiff
Apperson, Crump & Maxwell, PLC, Memphis TN
Shelby Circuit Court
September 2009

Andrea Caddel and David Petch, Co-Administrators ~f the Estate of Deanna Petsch;
Andrea Caddel; David Petch; and Mark H. Flener, Chapter 7 Trustee; Plaintiffs, v. City of
Hopkinsville, Kentucky and Avalon Trailer Home Park, Inc. d/b/a, Western Hills Mobile
Home Park, Defendants
Wrongful Death - Plaintiff
Burman Law, Hopkinsville KY
Christian Circuit Court Division II
September 2009


Case 3:18-cv-00375 Document 128-1 Filed
                                   D-2 11/02/20 Page 17 of 48 PageID #: 1403
Kenny Stone v. Goodman Manufacturing Company,
Personal Injury - Plaintiff
Law Office of Donald D. Zuccarello, Nashville TN
                                                         l
Lincoln County Circuit Court
October 2009

Ann Disch, wife and next of kin of Robert Disch, dece Ised, v. Carl Ham pf, M.D., et al.
Medical Malpractice - Plaintiff
Leader, Bulso & Nolan, PSC, Nashville TN
Circuit Court of Davidson County
October 2009

Marva Lynn Lunsford, as Administratrix Ad Litem o ; the Estate of Jomeka Lunsford,
Plaintiff, v. Ronald K. Gilmer, M.D., Ronald K. Gilme r , M.D., PC, Defendants
Medical Malpractice - Plaintiff
K. Cody Allison, Nashville TN
Davidson County Circuit Court
November 2009

Diane Downs, individually and as natural parent and r ext of kin of Ryan Cody Downs, vs.
Scott Hurdle and Jerry Dane Eller
Wrongful Death - Plaintiff
Charles P. Yezbak, III, Nashville TN
December 2009

Jerry Bisher vs. Continental General Tire Inc., et al.
Loss of Income - Plaintiff
Null, Samson & Paitsel, Mayfield KY
Graves Circuit Court
December 2009

                                            2010
Rachel Jeanette Sumpter and Joel Andrew Sumpter, flaintiffs, vs. W.D. and Mary Ann
Shytle and American Patriot Getaways, Defendants         j


Personal Injury - Plaintiff
Kelly, Kelly & Allman, Hendersonville TN
In the Circuit Court of Sevier County, Tennessee
February 2010

Vamsi Gutti, By and Through His Parent and Next F iend, Srinivasa Gutti, Plaintiff, v.
John C. Gurley, M.D., et al., Defendants
Personal Injury - Defendant
Philip M. Longmeyer, Densmore & Shohl, LLP, Loui ville KY
Commonwealth of Kentucky, Fayette Circuit Court, ighth Division
April 2010

Case 3:18-cv-00375 Document 128-1 Filed
                                   D-3 11/02/20 Page 18 of 48 PageID #: 1404
Gerry R. Dickson vs. National Maintenance & Repair of Kentucky, Inc.
Personal Injury - Plaintiff
Godwin, Morris, Laurenzi & Bloomfield, P .C., Memp~is TN; and
Brian S. Katz, Paducah KY                             .J
U.S. District Court, Western District of Kentucky at Paducah
June 2010
                                                       I
Mona Mathis and Niel Mathis, Plaintiffs, vs. Shirley       . Crass and Board of Education of
Graves County Kentucky
Wrongful Death - Plaintiff
Bryant Law Center, P.S.C., Paducah KY
Commonwealth of Kentucky, Graves Circuit Court
July 2010

Amber D. Wilson, et al., Plaintiffs, v. Stephen W. Doh r ney; and Konecranes, Inc.,
Defendants
Wrongful Death - Plaintiff
Wm. Clint Prow, Providence KY 42450

                                                       j
United States District Court, Western District of Kentucky, Owensboro KY
August 2010

Arthur Cushman, M.D., v. HCA Health Services of T nnessee, Inc., d/b/a Skyline Medical
Center and Hospital Housekeeping Systems GP, LLC       1


Personal Injury - Plaintiff
Law Office of Donald D. Zuccarello, Nashville TN
In the Sixth Circuit Court for Davidson County, Tennessee
August 2010

James Michael Wooldridge v. Evansville Marine Servtce, Inc.
Personal Injury - Plaintiff                            I


White & Flood, Houston TX
United States District Court, Western District of KenJcky, Owensboro Division
September 2010

Cynthia Green and Lee Ray Shannon Green, husban and wife, vs. Samella Spence,
Individually and as Administrator Ad Litem for Estafe of Dolphus Louis Spence, Deceased,
Defendants
Personal Injury - Plaintiff
Lucius Hawes Law Firm, Hopkinsville KY
Davidson Circuit Court, Tennessee
September 2010




                                   D-4 11/02/20 Page 19 of 48 PageID #: 1405
Case 3:18-cv-00375 Document 128-1 Filed
Beverly D. Cannon, Plaintiff, vs. Joseph May, Defend nt
Personal Injury - Plaintiff
John M. Longmeyer, PSC, Louisville KY
Jefferson Circuit Court, Division II, Kentucky
October 2010

Brenda Jo Williams, Darwin Williams, Plaintiffs, v. D na R. Tyrrell, Wes tern Baptist
Hospital and F. Thane DeWeese, Defendants
Personal Injury - Plaintiff
Warren K. Hopkins, Murray KY
Commonwealth of Kentucky, McCracken Circuit Co
November 2010

Cynthia F. Bearden and Michael Bearden, Plaintiffs, ·. Gregory B., Lanford, M.D.,
Neurological Surgeons, PC, and Baptist North Tower urgical Hospital, Defendants
Medical Malpractice - Plaintiff
Bednarz & Bednarz, Nash ville TN
Fifth Circuit Court of Davidson County Tennessee at ashville
November 2010

Katrina Pare' Smith, individually and as surviving sp use representing the Estate of
Jonathan Pare' Smith, Plaintiff, v. Mercy Health Part ers, Inc., d/b/a St. Mary's Medical
Center, Inc., and Andrew Clark, LPN, Defendants
Wrongful Death - Plaintiff
Kelly, Kelly & Allman, Hendersonville TN
Circuit Court for Knox County, Tennessee
November 2010

Richard Whiteshield, Decedent, by and through his c ildren and next of kin, Eric S.
Whiteshield, Amy M. Whiteshield, and Melissa Lynn hiteshield, v. Joe C. Baker, et al.,
and John Durling (Daryl) Kemper, v. David Boatman et al.
Wrongful Death - Plaintiff
Rob McKinney, Nashville TN
Davidson County Circuit Court
November 2010




                                   D-5 11/02/20 Page 20 of 48 PageID #: 1406
Case 3:18-cv-00375 Document 128-1 Filed
                                           2011
Amanda Leigh Cagle, By and through her Conservat+ and Father, Roger Cagle, Plaintiff,
vs. Pamela Denise Murray, M.D.; West Tennessee He,lthcare, Inc.; Jackson-Madison
County General Hospital District; Emergency Medical Care Facilities, P.C.; and Donald C.
Correll, M.D.; Defendants
Medical Malpractice - Plaintiff
C. Michael Lawson, Nashville TN
Circuit Court of Madison County, Tennessee
January 2011

Austin Lorance, a minor, by his next friends and pare ts, Tabetha Lorance and Marshall
Lorance, et al., v. Edward D. Eastham, M.D., et al.
Medical Malpractice - Plaintiff
Leader, Bulso & Nolan, PLC, Nashville TN
Rutherford County Circuit Court
January 2011

Shelly Elliott & Brandi Cummins, ~laintiff(s), v. Unitl d Parcel Service, Inc. and Michael A.
Harrison, Defendant(s)
Personal Injury - Defense
Stockard Robert Hickey, III, Gwin, Steinmetz & Bair , PLLC, Louisville KY
                                                        1
United States District Court, Eastern District of Kent J cky Northern Division, Covington
February 2011

Mary Gunby and John Gunby vs. J.P. Steele (Jarosla P. Stulc), M.D. and J.P. Stulc, P.S.C.
Personal Injury - Plaintiff
Charles S. Wible Law Offices, P.S.C., Owensboro KY
Hopkins Circuit Court
February 2011

Misleni D. Eastman, Individually and as Co-Administ ator of the Estate of Jonathan A.
Eastman, et al., v. Michael R. Pope and Crete Carrier Corporation
Wrongful Death - Plaintiff
Tim L. Bowden, Hendersonville TN
United States District Court for the Middle District otiTennessee at Nashville
March 2011

Tonia Freeman v. Becker Law Office
Legal Malpractice - Plaintiff
Kenyon Meyer, Dinsmore & Shohl, LLP, Louisville
Jefferson Circuit Court
May 2011




Case 3:18-cv-00375 Document 128-1 Filed
                                   D-6 11/02/20 Page 21 of 48 PageID #: 1407
John McNatt and Lisa M. Scates, as Administrators o I the Estate of Sara McNatt, Plaintiff,
v. Dr. Stephen Shiffman, Defendant
Medical Malpractice - Plaintiff
Karen M. Campbell, Apperson Crump, PLC, Memph s TN
Shelby County Circuit Court
June 2011

Ilyas A. Handuleh
Wrongful Death - Plaintiff
Tim L. Bowden, Goodlettsville TN
Circuit Court of Davidson County
July 2011

Joni Nix, as wife and next of kin of William Nix, dece sed, v. Bruce Hollinger, M.D.;
J. Jeremy Burns M.D.; and Nashville Medical Group, P.C.
Wrongful Death - Plaintiff
Leader, Bulso & Nolan, PLC, Nashville TN
Circuit Court for Davidson County
July 2011

Janice Sanderson and Billy J. Sanderson v. Urology    roup of Paducah, PSC,
Donald L. Spicer, M.D.
Medical Malpractice - Plaintiff
Kenneth R. Haggard, Hopkinsville KY
McCracken Circuit Court
July 2011

Joshua McCluskey
Wrongful Death- Plaintiff
John Lowery & Associates, Nashville TN
Giles County Circuit Court
July 2011

Mandy Lane, Administratrix of the Estate of Kirstie o Turner, deceased, and Victoria
Turner v. Dr. John W. Brazzell; Mercy Health Partn rs-Lourdes, Inc. and/or Lourdes
Hospital, Inc.; Jackson Purchase E.R. Physicians, P.s Jc.; Brian T. Hawkins; Baptist
Healthcare System, Inc.; and Bluegrass Emergency       edicine Associates, PLLC
Medical Malpractice - Plaintiff
Edwards & Kautz, Paducah KY
August 2011




                                   D-7 11/02/20 Page 22 of 48 PageID #: 1408
Case 3:18-cv-00375 Document 128-1 Filed
Jacqueline Fisher, For the Estate of Natasha Darna      illiams, Deceased, Plaintiff, v.
Arnulfo Agbunag, M.D., Defendant
Medical Malpractice - Plaintiff
Kelly, Kelly & Allman, Hendersonville TN
Fifth Circuit Court of Davidson County, Tennessee
August 2011

Kimberly Curtis, Executor of Estate of Charles Curti , Jr., et al., v. Hohlbein, et al.
Wrongful Death - Plaintiff
Apperson Crump, PLC, Memphis TN
U.S. District Court for the Western District of Kentuc y at Paducah
August 2011

Jack Dallosta v. Baptist Memorial Hospital, et al.
Medical Malpractice - Plaintiff
Apperson, Crump & Maxwell, PLC, Memphis TN
Shelby County Circuit Court
August 2011

D. Wayne Lewis, as surviving spouse of Virginia Lee ewis, Deceased, Plaintiffs, vs.
Jackson, Tennessee Hospital Company, LLC d/b/a Re ional Hospital of Jackson, Jackson-
Madison County General Hospital District, and Char es Alston, M.D.
Medical Malpractice - Plaintiff
Kelly, Kelly & Allman, Hendersonville TN and Art D. Wells & Associations, P.C., Jackson
TN
In the Circuit Court of Madison County, Tennessee a1Jackson
September 2011

Jerelle Gray, Jerome Gray and Garnetta Gray, Plaintfffs, v. McDonald's Corporation;
Century Management, LLC d/b/a McDonald's, 3363 tustin Peay Highway, Memphis,
Tennessee; Tenth, Inc.; Fred J. Tillman, individually rnd as managing member of Century
Management, LLC; Chad Tillman, individually and ,s managing member of Century
Management, LLC; Jackson Martin III
Personal Injury - Plaintiff
Wilks & McHugh, P.A., Memphis TN
In the Western District Court, Western District of Te , nessee, Western Division
December 2011




Case 3:18-cv-00375 Document 128-1 Filed
                                   D-8 11/02/20 Page 23 of 48 PageID #: 1409
                                           2012
Frederick Bertrand vs. The Regional Medical Center t Memphis and Frederick Boop, M.D.
Medical Malpractice - Plaintiff
Bednarz & Bednarz, Nash ville TN
Shelby Circuit Court
January 2012

John C. F. Schwerin, as Executor of the Estate of Rob rt L. Schwerin, Jr., Deceased, vs.
Harry Ray Coleman and Katheryn Elizabeth Colema
Wrongful Death - Plaintiff
Apperson Crump, PLC, Memphis TN
Shelby County Circuit Court
Tennessee Division I
February 2012

Estate of Gary Stephen Seaford by and through Admi istrator, James W. Seaford, v.
Res-Care, Inc., Res-Care, Inc. d/b/a Res-Care Finance Inc. d/b/a Res Care Home Care,
Louisville, et al.
Wrongful Death - Plaintiff
Donald E. Thomas, Benton KY
Commonwealth of Kentucky, Graves Circuit Court
February 2012

Daniel L. Ford
Personal Injury - Plaintiff
Brian & Katz, Paducah KY
United States District Court for the Western District f Kentucky, Paducah Division
February 2012

Jessica L. Readen, et al., v. State of Tennessee
Wrongful Death - Plaintiff
Wilkerson, Gauldin, Hayes & Jenkins, Dyersburg TN
In the Claims Commission for the State of Tennesse       estern Division
March 2012

Paul Riddle, Sr., Next of Kin to his Son, Paul Riddle, r., Deceased, Plaintiff, vs. George W.
Phillips and World Rental Car Sales, Defendant
Wrongful Death - Plaintiff
Apperson Crump, Memphis TN
In the United States District Court for the Western D" trict of Tennessee, Western Division
April 2012




Case 3:18-cv-00375 Document 128-1 Filed
                                   D-9 11/02/20 Page 24 of 48 PageID #: 1410
Blake E. Warren vs. George W. Phillips and World R ntal Care Sales, Inc.
Personal Injury - Plaintiff
Apperson Crump, Memphis TN
In the Circuit Court of Shelby County Tennessee fort e Thirtieth Judicial District at
Memphis
April 2012

Paule v. Hughes and Genesis Genetics
Wrongful Birth - Plaintiff
Apperson Crump, Memphis TN
Shelby Circuit Court
May 2012

Heather Alumbaugh, as natural mother and next frie d of Alicia Lei Alumbaugh, sole heir
at law of decedent, Timothy Patrick Alumbaugh, II, v . Wackenhut Corporation and Pilot
Travel Centers, LLC
Wrongful Death- Plaintiff
Cohen, Foster & Romine, P.A., Tampa FL
In the Circuit Court of the State of Tennessee, Twenti th Judicial District, Davidson
County
May 2012

Delorne MarKeith Guiden, Plaintiff, v. Leatt Corpor ion, Defendant
Personal Injury - Plaintiff
Whitlow, Roberts, Houston, Straub, PLLC, Paducah
United States District Court, Western District of Kent cky, Paducah Division
July 2012

Kenneth Redd, Plaintiff, v. Vulcan Material Compan
Personal Injury - Plaintiff
Paxton Law Office, Princeton KY
United States District Court, Western District of Kent 1 cky, Paducah, Kentucky
July 2012

Bradley McLain and Nicole McLain, his wife, vs. Hen     L. Utley and McLeod Express,
LLC
Personal Injury - Plaintiff
Burman Law, Hopkinsville KY
Christian Circuit Court
July 2012




Case 3:18-cv-00375 Document 128-1 Filed
                                   D-10 11/02/20 Page 25 of 48 PageID #: 1411
Ronald C. Daly, as surviving spouse of Stacey Lynn H lenihi-Daly, deceased, v. William
Steely, M.D., et al.
Wrongful Death - Plaintiff
Kelly, Kelly & Allman, Hendersonville TN
Montgomery County Circuit Court
July 2012

Melissa Svendsen v. Wal-Mart
Personal Injury - Plaintiff
Belt Law Firm, Birmingham AL
U.S. District Court, Middle District of Tennessee
August 2012

William v. Tuley v. CSX Transportation, Inc.
Personal Injury - Plaintiff
The Moody Law Firm, Portsmouth VA
Circuit Court of Jefferson County, Kentucky
August 2012

Mary Gortney, surviving spouse of Charles Kenneth      ortney, Plaintiff, vs. Bryan Joseph
Kozinski, M.D., Defendant
Personal Injury - Plaintiff
C. Michael Lawson, Nashville TN
In the Circuit Court of Rutherford County, Tennesse
October 2012

Carla Bumgardner, Individually and as Administrato      of the Estate of Royce Jhon
Bumgardner, v. Earl Paddock Transportation Compa        y, Inc.; Jeffrey A. Whiteside;
Marshall A Randall; Deanna R. Mock; and Unknown        Driver
Wrongful Death - Plaintiff
Dinsmore & Shohl, LLP, Louisville KY
Jefferson Circuit Court, Division of Honorable Chari   s L. Cunningham, Jr.
December 2012




                                  D-11 11/02/20 Page 26 of 48 PageID #: 1412
Case 3:18-cv-00375 Document 128-1 Filed
                                           2013
Larry Brian Bronson Smith, Administrator Ad Litem of the Estate of Judy Ann Smith,
Plaintiff, vs. S.P. Acquisition Corp., a for profit Tenne see Corporation doing business
under the assumed name of Grandview Medical Cent r, Karrie Barnett, R.N., and Rory
Justo, M.D., Defendants
Medical Malpractice - Plaintiff
Weill & Long, PLLC, Chattanooga TN
In the Twelfth Judicial District of Tennessee Circuit ourt for Marion County
January 2013

Melissa Csaja, by and through her Personal Represen ative and Executrix, Debra Belcher,
vs. Danny Fackler, et al.
Wrongful Death- Plaintiff
McCoy & Sparks, PLLC
Bardstown KY
March 2013

Jody Mitchell Rogers, By his mother and next friend, aura Tellis, and Laura Tellis,
Individually, Plaintiff, v. Michael Lynn Crouch, Adm nistrator of the Estate of Austin
Glenn Crouch, deceased, Michael Lynn Crouch, lndi idually, Marlean Crouch,
Individually, Billy Mitchell and Cole Lumber Co., Inc, Defendants
Wrongful Death - Plaintiff
William F. McGee, Jr., Smithland KY
Commonwealth of Kentucky, Livingston Circuit Cou t
April 2013

Anthony Lewis Dowell and Jacqueline Elaine Dowell, Plaintiffs, v. Michael David
Roberson, Individually and as employee/agent of Jon s Telecommunications, Inc.; and
Jones Telecommunications, Defendants
Personal Injury - Plaintiff
Clore Law Group, LLC, Charleston SC
Houston County Circuit Court
April 2013

Joseph Herman Nalley vs. Auslander Properties, LL , Steve Auslander and DX 2go, LLC
Personal Injury - Plaintiff
McCoy & Sparks, PLLC, Bardstown KY
Commonwealth of Kentucky, Nelson Circuit Court
April 2013




                                   D-12
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 27 of 48 PageID #: 1413
Lucille A. Fenner, individually and as surviving spous of William Fenner, Jr., deceased,
Plaintiff, v. Robert H. Gillespie and Dickson Carnival Company, Defendants
Wrongful Death - Plaintiff
Bass Berry & Sims, PLC, Nashville TN
In the Circuit Court for the State of Tennessee, Ninet enth Judicial District at Montgomery
County
June 2013

Nancy Mattern, Individually, and as Wife and Next F iend of Fritz Mattern, Deceased, v.
Gilreath & Associates, Robert Christopher Gilreath a d Sidney W. Gilreath
Wrongrul Death - Plaintiff
Apperson Crump, PLC, Memphis TN
In the Circuit Court for Shelby County Tennessee for the Thirtieth District at Memphis
July 2013

Dax R. Womack v. Matt Conley, Kentucky State Poli e, et al.
Wrongful Arrest - Plaintiff
Travis B. Lock, Bowling Green KY
United States District Court, Western District of Kent cky at Owensboro
July 2013

Alex B. Gates, Bankruptcy for the Estate of John E. J ckson and Katrina L. Jackson, and
John E. Jackson, Plaintiffs, v. Jerry D. Benitone, M.D and J.D. Benitone, M.D., P.C.,
Defendants
Medical Malpractice - Plaintiff
Appreson Crump, PLC, Memphis TN
In the Circuit Court of Tennessee for the Thirtieth Ju icial District at Memphis
July 2013

David Cherry, Personal Representative of the Estate f Pamela Cherry, deceased, vs.
Macon Hospital, Inc ., d/b/a Macon County General H spital and Hanna C. Ilia, M.D.
Wrongful Death - Plaintiff
Wilson, Kehoe & Winingham, LLC, Indianapolis IN
United States District Court for the Middle District o Tennessee, Northeast Division
August 2013

Gary J. Hodges and Porta Hodges, Plaintiffs, vs. G&I Dogwood Creek, LLC, and
Fogelman Management Group, LLC, Defendants
Personal Injury - Plaintiff
Apperson Crump, PLC, Memphis TN
In the Circuit Court of Tennessee for the Thirtieth Ju icial District at Memphis
October 2013




                                           D-13
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 28 of 48 PageID #: 1414
Carol D. Raiford, by and through William Raiford, as Power of Attorney, Plaintiff, vs.
James G. Porterfield, M.D., and Arrhythmia Consult ts, P.C., Defendants
Personal Injury - Plaintiff
Apperson Crump, PLC, Memphis TN
In the Circuit Court of Tennessee for the Thirtieth Ju icial Distict at Memphis
November 2013

David Pratt, Individually, and as Surviving Spouse an~ Administrator of Estate of Connie
Jo Pratt, Deceased, Plaintiff, vs. David Lan, M.D., Mef phis Heart Clinic, Baptist
Memorial Hospital, Baptist Memorial Healthcare Cor oration, The West Clinic d/b/a
Memphis Health Clinic, Defendants
Wrongful Death - Plaintiff
Apperson Crump, PLC, Memphis TN
In the Circuit Court of Tennessee for the Thirtieth Ju icial District at Memphis
December 2013




                                   D-14
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 29 of 48 PageID #: 1415
         CASES IN WHICH TESTIMONY WAS GIVEN DURING TRIAL
                                      Gilbert L. Mathi


                                            2009
Wanda Hobbs and Raleigh Hobbs v. Robert P. Meriw ther, M.D.; Sean P. McDonald,
M.D.; and Neurosurgical Associates of Western Kent cky, P.C.
Personal Injury - Plaintiff
Conway & Keown, Hartford KY
April 2009

Paula Osborne and Carolyn McNeill v. Gemld Pinson eault and Sitton Motor Lines, Inc.
Personal Injury - Plaintiff
Saladino, Oakes & Schaaf, Paducah KY
U.S. District Court, Western District of Kentucky, 0 ensboro Division
April 2009

Bud Lee, et al., v. Metropolitan Government of Nashv lie/Davidson County, Tennessee, et al.
Wrongful Death - Plaintiff
Bednarz & Bednarz, Nash ville TN
United States District Court of Tennessee, Middle Dis rict at Nashville
April 2009

Karen A. Lilly, Individually and as surviving spouse f Charles E. Lilly, Jr., and as parent
of and for the benefit of Aaron Lilly and Andrew Lill , Plaintiffs, vs. Estate of Billy Marvin
Walker, Kelly Renee Brooks as Executrix, and Billy alker Enterprises, Defendants
Wrongful Death - Plaintiff
Jeffrey R. Kohl, Nashville TN
Circuit Court of Sumner County TN
April 2009

Kelly Renee Brooks as Executrix and Billy Walker E terprises, Defendants
Wrongful Death - Plaintiff
Jeffrey R. Kohl, Nashville TN
Circuit Court of Sumner County, Tennessee
April 2009

James and Patricia Cullum, Natural Parents of Samu I Cullum, a Minor, Plaintiffs, vs.
Susan E. Mackey, M.D.; Women's Health Alliance, P. .; Baptist Hospital System, Inc.; and
Baptist Women's Health Ce.nter, L.L.C.; Defendants
Personal Injury - Plaintiff
Bednarz & Bednarz, Nash ville TN
Sixth Circuit Court for Davidson County TN
June 2009


                                             T-1
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 30 of 48 PageID #: 1416
Yvette Daniels v. Paul E. Disney
Personal Injury - Plaintiff
John M. Longmeyer, P.S.C., Louisville KY
Jefferson Circuit Court
July 2009

Jennifer Darlene Bunch and husband, Robert Bunch, s. Jeffrey Landman, M.D. and
Virtual Radiology, P.C.
Personal Injury - Plaintiff
Barry E. Weathers, Nashville TN
Davidson Circuit Court
September 2009

Dawn D. Rideout vs. Michael H. Howard, M.D., et al.
Personal Injury - Plaintiff
Conway & Keown, Hartford Ky
U.S. District Court for the Western District of Kentuc y at Owensboro
September 2009

Yongfin Min, et al., Plaintiffs, vs. State of Tennessee, efendant
Wrongful Death - Plaintiff
Rob McKinney, Nashville TN
In the Claims Commission for the State of Tennessee, iddle Division
November 2009

Chera Lynn Warren, Individually, and as Personal R presentative of Perry Dwain
Warren, and mother and next friend of Tanner Reag n Perry Warren, vs. Kenneth H.
Jones
Wrongful Death - Plaintiff
Hargrove & Foster, Mayfield KY
Carlisle County Circuit Court
December 2009


                                           2010
Oscar Turner, Jr., et al., Plaintiff, vs. Branch Bankin & Trust, Defendant
Bank Loan Resolution - Plaintiff
Null, Samson & Paitsel, Mayfield KY
Commonwealth of Kentucky, Calloway Circuit Court
February 2010




                                            T-2
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 31 of 48 PageID #: 1417
Andrea R. Payne, Individually, and Andrea R. Payne, next friend and Natural Guardian of
Gracie Jo Johnson (a/k/a Payne), an infant, vs. Donal E. Wink and Marvin L. Wink, d/b/a
Wink Brothers Farms
Personal Injury - Plaintiff
Charles S. Wible, Owensboro KY
Daviess Circuit Court
March 2010

Lorrie Eicher, representative for Robert Lambert, Jr. deceased, Plaintiff, vs. Humphreys
County Sheriff Ronnie Toungette, et al., Defendants
Wrongful Death - Plaintiff
David B. Lyons, Nashville TN
In the Circuit Court for Humphreys County, Tenness eat Waverly
July 2010

Brenda Jo Williams, Darwin Williams, Plaintiffs, vs. ana R. Tyrrell, Western Baptist
Hospital and F. Thane Deweese, Defendants
Personal Injury - Plaintiff
Warren K. Hopkins, Murray KY
Commonwealth of Kentucky, McCracken Circuit Co rt
November 2010


                                          2011
Cynthia F. Bearden and Michael Bearden, Plaintiffs, l' Gregory B. Lanford, M.D.,
Neurological Surgeons, PC, and Baptist North Tower urgical Hospital, Defendants
Personal Injury - Plaintiff
Bednarz & Bednarz, Nashville TN
Fifth Circuit Court of Davidson County, Tennessee at Nashville
January 2011

Katrina Pare' Smith, individually as Surviving Spous . Representing the Estate of Jonathan
Paul Smith, and as Parent and Next Friend of Carrie nn Smith, a Minor, Plaintiff, vs. St.
Mary's Health System Inc. d/b/a St Mary's Medical enter, Inc., James Joseph Kennedy,
M.D., and Andrew J. Clark
Medical Malpractice - Plaintiff
Kelly, Kelly & Allman, Hendersonville TN
Circuit Court for Knox County, Tennessee
February 2011

Mary Gunby and John Gunby vs. J.P. Stulc (Jaroslav P. Stulc), M.D. and J.P. Stulc, P.S.C.
Personal Injury - Plaintiff
Charles S. Wible Law Offices, P.S.C., Owensboro K
Hopkins Circuit Court
April 2011

                                   T-3
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 32 of 48 PageID #: 1418
Janice Sanderson and Billy J. Sanderson v. Urology    roup of Paducah, PSC, Donald L.
Spicer, M.D.
Medical Malpractice - Plaintiff
Kenneth R. Haggard, Hopkinsville KY
McCracken Circuit Court
August 2011

Austin T. Wells, a Disabled Person, by and through h s Conservator and Natural Mother,
Carron C. Wells Baker, v. Donald Estes, Estes LLC a d the State of Tennessee
Personal Injury - Plaintiff
Apperson Crump & Maxwell, PLC
Memphis TN
Shelby Circuit Court
October 2011

D. Wayne Lewis as surviving spouse of Virginia Lee ewis, Deceased, vs. Jackson,
Tennessee Hospital Company, LLC d/b/a Regional H spital of Jackson, Jackson-Madison
County General Hospital District, and Charles Alston M.D.
Medical Malpractice - Plaintiff
Kelly, Kelly and Allman, Hendersonville TN
Madison County Circuit Court
October 2011

Joni Nix, as wife and next of kin of William Nix, dece sed, vs. Bruce Hollinger, M.D.,
J. Jeremy Burns, M.D. and Nashville Medical Group, P.C.
Wrongful Death - Plaintiff
Leader, Bulso, & Nolan, PLC, Nashville TN
Circuit Court for Davidson County
November 2011


                                           2012
Ann Disch, wife and next of kin of Robert Disch, dece sed, v. Carl Hampf, M .D., et al.
Medical Malpractice - Plaintiff
Leader, Bulso & Nolan, PLC, Nashville TN
Circuit Court of Davidson County
January 2012

Jennifer Duncan, Deanna Knight, Kathy Crowe and randy Fowler, Claimants, v. Daymar
Colleges Group, LLC, Daymar Learning of Paducah, nc., et al.
Education Claim - Plaintiff
Bryant Law Center, P.S.C., Paducah KY
American Arbitration Association
January 2012


                                   T-4
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 33 of 48 PageID #: 1419
Tonia Freeman v. Becker Law Office, PLLC, et al.
Legal Malpractice - Plaintiff
Dinsmore & Shohl, LLP, Louisville KY
Jefferson Circuit Court
February 2012

Joshua McCluskey
Wrongful Death - Plaintiff
John Lowery & Associates, Nashville TN
Giles County Circuit Court
February 2012

William Michael Ray and Sandra Ray, Plaintiffs, v. C lumbia/HCA Healthcare
Corporation/Hospital Corporation of America, Erner Id-Hodgson Hospital, Southern
Tennessee Medical Center, LLC, and Asher A. Turne , M.D., Defendants
Medical Malpractice - Plaintiff
Higgins, Himmelberg & Piliponis, PLLC, Nashville T
In the Circuit Court of Franklin County, Tennessee
February 2012

Jessica L. Readen, et al., v. State of Tennessee
Wrongful Death - Plaintiff
Wilkerson, Gauldin, Hayes & Jenkins, Dyersburg TN
In the Claims Commission for the State of Tennessee Western Division
April 2012

Cynthia F. Bearden and Michael Bearden, Plaintiffs, . Gregory B. Langford , M.D.,
Neurological Surgeons, P.C., and Baptist North Towe Surgical Hospital, Defendants
Medical Malpractice - Plaintiff
Bednarz & Bednarz, Nash ville TN
Fifth Circuit Court of Davidson County Tennessee at ashville
April 2012

Burks vs. Burks
Divorce - Defense
Wilkerson, Gaulden, Hayes & Jenkins, Dyersburg T
Dyer Circuit Court
May 2012

Paule v. Hughes and Genesis Genetics
Wrongful Birth - Plaintiff
Apperson Crump, Memphis TN
Shelby Circuit Court
June 2012




                                          T-5
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 34 of 48 PageID #: 1420
James and Patricia Cullum, Natural Parents of Samu l Cullum, a Minor, Plaintiffs, vs.
Susan E. Mackey, M.D., Women's Health Alliance, P. ., Baptist Hospital System, Inc., and
Baptist Women's Health Center, LLC, Defendants
Personal Injury - Plaintiff
Bednarz & Bednarz, Nash ville TN
Davidson County Circuit Court
July 2012

Cynthia Green and Lee Ray Green, husband and wife Plaintiffs, vs. Samella Spence, et al.,
Defendants
Personal Injury - Plaintiff
Lucius Hawes Law Firm, Hopkinsville KY
Davidson Circuit Court
August 2012

William v. Tuley v. CSX Transportation, Inc.
Personal Injury - Plaintiff
The Moody Law Firm, Portsmouth VA
Circuit Court of Jefferson County, Kentucky
October 2012




                                           T-6
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 35 of 48 PageID #: 1421
                                          2013
Chad Everett and Stephanie Everett, Plaintiffs, and K ntucky Farm Bureau Mutual
Insurance Company v. Chrysler Group, LLC (f/k/a N w Carco Acquisitions, LLC),
Defendant
Post Judgment Interest - Defendant
Boehl Stopher & Graves, LLP, Paducah KY
Commonwealth of Kentucky, Fulton Circuit Court
January 2013

Bradley McLain and Nicole McLain, his wife, vs. Hen     L. Utley and McLeod Express,
LLC
Personal Injury - Plaintiff
Burman Law, Hopkinsville KY
Christian Circuit Court
February 2013

Michelle Morris vs. Paul R. Mccombs, M.D. and the      enter for Spinal Surgery, LLC
Medical Malpractice - Plaintiff
Kelly, Kelly & Allman, Hendersonville TN
Davidson Circuit Court
March 2013

Frederick Bertrand vs. The Regional Medical Center     t Memphis and Frederick Boop,
M.D.
Medical Malpractice- Plaintiff
Bednarz & Bednarz, Nash ville TN
Shelby County Circuit Court
April 2013

Melissa Svendsen v. Wal-Mart
Personal Injury - Plaintiff
Belt Law Firm, Birmingham AL
U.S. District Court, Middle District of Tennessee
May2013

Jody Michel Rogers, By his Mother and next friend, aura Tellis and Laura Tellis,
Individually, Plaintiffs, v. Michael Lynn Crouch, Ad inistrator of the Estate of Austin
Glenn Crouch, deceased, et al., Defendants
Wrongful Death - Plaintiff
William F. McGee, Jr., and Cobie D. Evans, Smithlan KY
Commonwealth of Kentucky, Livingston Circuit Cou t
June 2013




                                            T-7
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 36 of 48 PageID #: 1422
Joseph Herman Nalley vs. Auslander Properties, LLC Steve Auslander and Dx2go, LLC
Personal Injury - Plaintiff
McCoy & Sparks, PLLC, Bardstown KY
Nelson Circuit Court
September 2013

Lucille A. Fenner, individually, and as surviving spou e of William Fenner, Jr., deceased,
Plaintiff, v. Robert H. Gillespie and Dickson Carnival Company, Defendants
Wrongful Death - Plaintiff
Bass Berry & Sims, PLC, Nashville TN
In the Circuit Court for the State of Tennessee, Ninet enth Judicial District at Montgomery
County
October 2013

Ronald C. Daly as Surviving Spouse of Stacey Lynn     elenihi-Daly, deceased, v. William
Steely, M.D., et al.
Wrongful Death - Plaintiff
The Kelly Firm, Hendersonville-TN
Montgomery Circuit Court
November 2013




                                            T-8
Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 37 of 48 PageID #: 1423
       CASES IN W HIC       TESTIMONY WAS GIVEN THROUGH DEPOSITION
                                  Gilbert L. Mathis


                                            2014

Cindy P. McCroskey, on Brhalf of herself and all wrongful Death Beneficiaries of Jerry
Dennis McCroskey, Decea ~ed, v. Bruce Todd Thompson, M.D., and Physicians Care, P.C.
Wrongful Death - Plaintif ,
Jon C. Peeler
Nashville, Tennessee
In the Circuit Court of Hamilton County TN
February 2014

Vaal Hall, by and through !his conservator, Theresa Ann Hall and Theresa Ann Hall,
Individually, v. Charles L. pwens, Jr.; Pepsico, d/b/a/ Pepsi Company; Pepsi Americas;
Delta Beverage Group, Inc., Pepsi-Cola Bottling Company
Personal Injury - Plaintiff I
Williamson, Webster, Falb & Glisson
Alton, Illinois
Madison County, TN Circuit Court
February 2014

Steven D. Beard, Plaintiff, r s. Illinois Central Railroad Company, d/b/a/ CN, Defendant
Personal Injury - Plaintiff
Callis, Papa, Hale & Szewczyk, PC
Granite City, Illinois
In the Circuit Court of Tennessee for the Thirtieth Judicial District at Memphis
April 2014

Junamon Atchison, Individually, Age 18, and Lesa George as the Natural Mother and next
friend of Junamon Atchisor, and Lesa George as the caregiver of Junamon Atchison,
Plaintiffs vs. Scott Graham, M.D., Family Practice Care, LLC, et al Defendants
Personal Injury - Plaintiff
Wendell Holloway
Madisonville, KY
Commonwealth of Kentucky, Crittenden Circuit Court, Marion, KY
April 2014                  [

Eddie Franklin vs. Kentucky Farm Bureau Mutual Insurance Company
Personal Injury - Plaintiff
Edwards and Kautz
Paducah, KY
Commonwealth of Kentucky, Graves Circuit Court
June, 2014
                                        D-1


Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 38 of 48 PageID #: 1424
Christina T. McDonald, individually and as Administratrix of the Estate of Alexis V.
Thompson (deceased) v. Sumner County Board of Education, et al.
Wrongful Death - Plaintiff
Tim L. Bowden
Goodlettsville, TN
Sumner County Circuit Court, Gallatin, TN
June 2014

Christopher Shawver and Michelle Shawver, Plaintiffs, vs. Bombardier Recreational
Products, Inc. BPRUS, Inc., and Kentucky Power Sports, Inc. d/b/a/ Yamaha of Millington,
Defendants                 1




Personal Injury - Plaintiffs
Bolus Law Offices
Louisville, KY
Trigg Circuit Court
August 2014

John D. McCrum and Elizabeth McCrum, Plaintiffs v. Alexander Mathew, M.D. and UT
Medical Group, Inc.; Defendants
Personal Injury - Plaintiffs
Glassman, Wyatt, Tuttle & Cox, PC
Lauren Stimac, Esq.
Memphis, TN
In the Circuit Court of Shelby County Tennessee for the Thirtieth Judicial District at
Memphis
October 2013

John Weyers, Jr. and Dorothea Weyers v. Davis Pharmacy, d/b/a/ Reidland Phaymacy,
Glen R. Van Loon and Ann Matejcek, a PRN
Personal Injury - Plaintiff
Morris & Player, PLLC
Louissville, KY
Marshall Circuit Court
November 2014




                                           D-2




 Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 39 of 48 PageID #: 1425
                                              2015


Epilito Guevara, et al., v Pamela Carr, et al
Wrongful Death, Plaintiff
Apperson Crump
Memphis Tennessee
United States District Court, Western District of Tennessee
February 2015

Harry W. Dillon and Elizabeth Dillon v. Roy Matlock
Personal Injury - Plaintiff I
Rocky McElhaney Law Firm, PC
Nashville, Tennessee
First Circuit Court of Davidson County Tennessee
May 2015

Timothy R. Futrell vs. The ';fravelers Casualty Insurance Company of America
Business Loss - Plaintiff
Lucius Hawes Law Firm
Hopkinsville, Kentucky       I

United States District Court, Western District of Kentucky, Paducah Division
May 2015

Chayce Collier, a minor, by and through his natural parent and next friend Kendall
Collier, Plaintiff vs. Pericilis I Roussis, M.D., Fort Sanders Perinatel Center and Fort
Sanders Regional Medical Center
Personal Injury - Plaintiff
Bednarz and Bednarz
Hendersonville, Teneessee
Circuit Court for Knox County Tennessee at Knoxville
May 2015

Randle D. Arnold, Jr., and his spouse Ernestine Arnold, Plaintiffs, vs. Fedex Ground
Package System, Inc., and Rodney Johnson, Defendants
Personal Injury - Plaintiff
The Law Office of Libby & Nahmias
Memphis, Tennessee
Circuit Court of Tennessee for the Thirtieth Judicial District at Memphis
June 2015



                                              D-3




 Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 40 of 48 PageID #: 1426
Carolyn Y. Dozier, Administrator ad litem of the Estate of Santay Laressa Dozier, Plaintiff,
vs. Parkridge Medical Center, Inc., a for-profit Tennessee Corporation doing business as
Parkridge Medical Center. David C. Redd, M.D. individually and David C. Redd, M.D.,
P.C., a Tennessee Corporation, Defendants
Wrongful Death - Plaintiff
Weil & Long
Chattanooga, Tennessee
Circuit Court of Hamilton County Tennessee
June 2015

Terry Chambers, Plaintiff v. Kohler Co., Troy Built, LLC and Lowes' Home Center, Inc.
Defendants
Personal Injury - Plaintiff
The Button Law Firm
Lewisville, Texas            I


In the United States District Court for the Northern District of Texas, Dallas Division
July 2015

Alice Ball Breuer v. Andrew Barnes
Personal Injury - Plaintiff
Hughes & Coleman, PLLC
Nashville, Tennessee
Circuit Court of Williamson County Tennessee at Franklin
August 2015                 I




Kennedy William Miller, Plaintiff, vs. Chinenye Uchendu, M.D. Methodist Healthcare
Memphis Hospitals d/b/a/ Methodist Lebonheur Healthcare and Methodist Healthcare
Foundation, Defendants
Personal Injury - Plaintiff
Apperson Crump
Memphis, Tennessee
In the United States District Court for the Western District of Tennessee Western Division
December 2015

                                             2016

Lewis E. Crayton, deceased, b/n/f James Crayton, Sr., his father and next of kin, Plaintiffs
v. Angelica Textile Services, Inc. Penske Truck Leasing Co. L. P. and Kenton Jerome
Smith, Defendants            I

Wrongful Death - Plaintiff
Bart Durham Injury Law
Nashville, Tennessee
In the Circuit Court of Carroll County, Tennessee
February 2016

                                             D-4


 Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 41 of 48 PageID #: 1427
Jordan Franklin - Mansuo, Individually, and as Administrator of the Estate of Suzie
Franklin v. AMISUB (SFH), Inc. d/b/a Saint Francis Hospital, et al
Wrongful Death -Plaintiff
Apperson Crump, PLC        I
Memphis, Tennessee        I
Circuit Court for Shelby County, Division V
February 2016

Kristy Lee Cox, Personal Representative of the Estate of Richard L. Cox, Deceased v.
Rogers Group, Inc.; et al
Wrongful Death - Plaintiff
Rhoads and Rhodes, P. S. q.
Owensboro, Kentucky
Commonwealth of Kentucky, Henderson Circuit Court
March 2016

Stephen McCarty vs City of Southside Place, Texas, USERRA Suite,
Wrongful Termination - Plaintiff
Joseph A Napiltonia
Franklin, Tennessee and Lapin & Landa, L.L. P.
Houston, Texas             I

U.S. District Court, Houston, Texas
April 2016

Jane R. Wray, New England Compounding Pharmacy, Inc., Product Liability
Litigation


                          !
Personal Injury - Plaintiff
Lieff, Cabraser, Heimann & Bernstein, L.L.P.
Nashville, Tennessee
United States District Coor for the District of Massachusetts
May 2016

Natasha Francis, Individually and as Administrator of the Estate of Loman Owen, IV
Deceased, et al. vs. CSX Transportation, Inc., et al
Wrongful Death - Plaintiff
Nancy E. S. Calloway
Elkton, Kentucky
Commonwealth of Kentuc
Christian Circuit Court
June 2016




                                           D-5


Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 42 of 48 PageID #: 1428
Raymond Murby, Jr., Plaintiff, vs. General Electric Healthcare, Inc.
Alliance Imaging, Inc., and IMethodist Healthcare-Fayette, Defendants
Personal Injury, Plaintiffs
Law Office of Jeffrey A. G,rrety
Jackson, Tennessee
In the Circuit Court of Fayette County, Tennessee for the
Twenty-Fifth District at Soh.erville
September 2016

William Webb vs. Crounse Corporation
Personal Injury - Plaintiff I
Lawrence "Larry" N. Curtis
Lafayette, LA              I

U.S. District Court, Western District of Kentucky
October 2016

Robin Williamson, as mother and next of kin of decedent Joseph Garcia v.
Kevin Davenport, Nationwide OTR Recyclers, Inc. and Metropolitan
Government of Nashville and Davidson County, Tennessee
Wrongful Death - Plaintiff
Michael D. Ponce
Goodlettsville, TN
                           j
United States District Cour for the Middle District
of Tennessee at Nashville
October 2016

Gough Farms, LLC, Plaint' f vs. Countrymark Energy Resources, LLC
Property Damages - Plainti f
Stephen M. Arnett
Morganfield Kentucky
United States District Cour
Western District of Kentuc
Owensboro, Kentucky
November 2016

Jill Payne Foster, lndividua ,lly and as Administrator of the Estate of
Brian Daryl Foster Deceased, Plaintiff vs. Autumn Loomis, M.D.;
James Coomes, M.D.; CEP rmerica-Kentucky, LLP; CEP America LLC;
and Owensboro Health, Inc Defendants
Personal Injury - Plaintiff
Foreman, Watson, Holtrey, LLP
Owensboro, KY
Commonwealth of Kentucky
Daviess Circuit Court
December 2016
                                           D-6


Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 43 of 48 PageID #: 1429
                                                2017


Jessica A. Harris and Ric L. Harris, as Administrator of the Estate of
Ricky Harris, III, lndivid?fllY, and Ricky L. Harris, Individually, Plaintiffs,
vs. Transylvania Universi~, Nicholas P. Conway, Morgan T. Cyrus and
Carolyn Owens, Defendant
Wrongful Death-Defense
Landrum & Shouse, LLP
Lexington KY
Commonwealth of Kentuc y
Fayette Circuit Court Fourlh Division
January 2017

Freddie Sutton v. Housing uthority of Hickman, Kentucky a/k/a/ The
Municipal Planning Commfssion v. Darrell Davis Roofing Co., Inc.
Personal Injury - Plaintiff   I


Law Office of Brian S. Katl
Paducah, Kentucky
United States District Court y
Western District of Kentuc
Paducah Division
February 2017
                              I
David Jernigan, as Next of      in and Surviving Husband to Jane Ann Jernigan,
Deceased, Plaintiff vs. Rob   rt Evan Paasche, M.D., Cumberland Medical Center, Inc.,
James F. Wojcik, M.D. and     Emergency Coverage Corporation, Defendants
Wrongful Death - Plaintiff
Bednarz & Bednarz
Hendersonville, Tennessee
In the Circuit Court for Pu       nam County, Tennessee
June 2017

Briton Gage Blackburn, a , inor, individually, and as the Natural child of Cody Charles
Blackburn, deceased, By N~xt Friend and Grandfather, Barry Charles Blackburn
Plaintiffs, v. Mark A. McLean, M.D., Stephen Caleb Barr, M.D., and Maury Regional
Hospital, d/b/a/ Maury Reg Jonal Medical Center, Defendants
Wrongful Death - Plaintiff
Bednarz & Bednarz
Hendersonville, TN
Maury County Tennessee ircuit Court
July 2017



                                              D-7


 Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 44 of 48 PageID #: 1430
Laura Michele Harper, et I. Plaintiff vs. Davies County, Kentucky, et al. Defendants
Wrongful Death - Plaintiff
Brice L. Caldwell
Owensboro, Kentucky
United States District Cou , Owensboro Division
August 2017

Taryne Patterson, A Mino , by and through her parents and next friends, Brandi
Patterson and Tracy Patte son and Brandi Patterson and Tracy Patterson, individually,
Plaintiffs, vs. Cathy A. Dep en, M.D., and Tennessee Women's Care, P.C.
Personal Injury - Plaintiff
Bednarz & Bednarz
Hendersonville, TN
In The First Circuit Court f Davidson County, Tennessee
September 2017

Neetu Sanwal, individually     and as Surviving Spouse of Narinder Sanwal, Deceased,
Plaintiff v. Saint Francis H   spital- Bartlett, Inc., Defendant
Wrongful Death - Plaintiff
The Fowler Law Firm, PL        C
Memphis, TN
United States District Court   for the Western District of Tennesse
September 2017




                                            D-8


Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 45 of 48 PageID #: 1431
            CASES IN W ICH TESTIMONY WAS GIVEN DURING TRIAL
                              Gilbert L. Mathis


                                           2014
Kevin Bloomfield v. Metro olitan Government of Nashville
Personal Injury - Plaintiff
Rocky McElhaney Law Fi m
Nashville, TN
The Third District of the D vidson County Circuit Court
January 2014

Jennifer Darlene Bunch an husband, Robert Bunch, vs. Jeffrey Landman, M.D., and
Virtual Radiology, P.C.
Personal Injury - Plaintiff
Law Office of Barry E. We thers, P.C.
Nash ville, TN
Circuit Court of Davidson ounty, TN
June 2014

Donna Faye Shipley, and usband Frank Shipley, Plaintiffs v. Robin Williams, M.D.
Defendant
Personal Injury - Plaintiff
Bednarz & Bednarz
Hendersonville TN
Davidson Circuit Court
July 2014

Tiffany Barnes v. Landma 1, M.D.
Personal Injury - Plaintiff
C. Michael Lawson
Nashville, TN
Davidson Circuit Court, T nnessee
August 2014

Vickie P. Jacobs, Survivin Spouse of Harris N. Jacobs, Defendant, et al. v. Nashville Ear,
Nose & Throat Clinic; Sou heast Ear, Nose & Throat Specialists, LLC; et al.
Wrongful Death - Plaintif
Ashworth & Associates
Davidson Circuit Court
Nash ville, TN
August 2014

                                            T-1




Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 46 of 48 PageID #: 1432
                                             2015

Deborah Peters individuall and as surviving spouse of James A. Peters, deceased, Plaintiff
v. Harton Regional Medica Center; Dr. Samad Honarvar; Dr. Joel Birdwell; and Dr.
Kenneth Holbert, Def end a ts
Wrongful Death - Plaintiff
Kious, Rodgers, Barger, Holder & Kious, PLLC
Murfreesboro, Tennessee
Circuit Court for Coffee C unty, Tennessee
June 2015

Chayce Collier, a minor, b and through his natural parent and next friend Kendall
Collier, Plaintiff, vs, Perici is Rousser, M.D., Fort Sanders Perinatal Center, and Fort
Sanders Regional Medical ~enter
Personal Injury - Plaintiff I
Bednarz & Bednarz
Hendersonville, Tennessee
Circuit Court for Knox County, Tennessee at Knoxville
July 2015


                                            2016

Cheryl Roach and Stephen hilip Roach, II, her husband, Plaintiffs vs. Laura Hughs,
Warner Chilcott, PLC, Warner Chilcott, Sales (U.S.), LLC; and Wheels Lt; Defendants
Personal Injury - Plaintiff
Rhoads & Rhoads, P.S.C.
Owensboro, Kentucky
United States District Cour, Western District, Owensboro, Kentucky
April 2016

Liliana Longmeyer vs. Mar r A. Stallard and Auto Owners Insurance Company
Personal Injury - Plaintiff
Dinsmore & Shohl, LLP       I
Louisville, Kentucky        I
Jefferson Circuit Court, Dit ison 8
April 2016




                                             T-2




 Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 47 of 48 PageID #: 1433
                                           2017

Kerry Culbersonand Kare Culberson,Individuallyand as Heirsof KoltonWayne
Culberson, Deceased, plain iffs, vs. R. B. Transport, Inc. and Terry Lynn Byram,
Defendants
Wrongful Death - Plaintiff:
The Button Law Firm
Dallas, Texas
In the District Court 102nd udicial District, Bowie County, Texas
January 2017

Kennedy William Miller, P aintiff, v. Chenenye Uchendu, M.D. and Methodist
Healthcare Memphis Hosp· als d/b/a/ Methodist LeDonheur Healthcare,
Defendants
Personal Injury - Plaintiff
Apperson Crump, PLC
Memphis, Tennessee
United States District Cour for the Western District of Tennessee
February 2017

Beverly and Keith Knight, laintiffs, vs. W. Craig Clark, M.D. Defendant
Personal Injury - Plaintiff
Gary K. Smith Law, PLLC
Memphis, Tennessee
In the Circuit Court of Des to County, Mississippi
March 2017

CFO Services, Inc., Plaintif /Counter-Defendant vs.
Carol L. Wright and Antho y F. Bianco, Defendants/Counter-Plaintiffs
Colin B. Calhoun
Sobel, Poss & Moore
Nashville, Tennessee
In The Chancery Court Fo The State Of Tennessee, Twentieth Judicial Dristict,
Davidson County, Part IV
August 2017




                                        T-3




 Case 3:18-cv-00375 Document 128-1 Filed 11/02/20 Page 48 of 48 PageID #: 1434
